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   ORIGINAL
                                                       FILED IN THE
MATTHEW G. WHITAKER                             UNITED STATES DISTRICT COURT
Acting Attorney General                            DISTRICT OF HAWAII
MICHAEL G. WHEAT,CBN 118598                            JAN 11 2019        Ale/
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Attorneys for the United States


                 UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII


                                         Case No. 19-CR-00003-JMS
UNITED STATES OF AMERICA,
                Plaintiff,
                                              PLEA       AGREEMENT
           V.


DANIEL SELEERS(6),
                Defendant.



                    MEMORANDUM OF PLEA AGREEMENT


      Pursuant to Rule II of the Federal Rules of Criminal Procedure, the United

States of America, by its attomey, the Acting Attomey General Matthew G.

Whitaker and the Special Attorneys named herein, and the Defendant, DANIEL

SELLERS,and his attomey, Richard H.S. Sing, have agreed upon the following;
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      1.     Defendant understands that he will be charged in an Information with

violating Title 18, U.S.C., Section 1905 - Disclosure of Confidential Information.

Defendant understands that the offense to which Defendant is pleading guilty has

the following elements:

             a.    The defendant was an officer or employee ofthe United States;

             b.    The defendant disclosed confidential information; and

             c.    The defendant knew that the information so disclosed was
                   confidential in the sense that its disclosure was forbidden by
                   agency official policy.

      For purposes of this statute, the term "employee" includes an employee of a

contractor, subcontractor, grantee, subgrantee, or personal services contractor, ofan

agency. 18 USC § 1833(b)(4).

      2.     Defendant has read the charges against him contained in the

Information, and those charges have been fiilly explained to him by his attomey.

      3.    Defendant fully understands the nature and elements ofthe crimes with

which he has been charged.

      4.    Defendant will enter a voluntary plea of guilty to the Information

charging him with Disclosure of Confidential Information, in violation of Title 18,

U.S.C., Section 1905. In exchange,ifDefendant fully complies with all provisions
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of this Plea Agreement, the United States agrees to dismiss the remaining counts in

the Indictment and Superseding Indictment against Defendant.

      5.     Defendant agrees that this Memorandum of Plea Agreement shall be

filed and become part ofthe record in this case.

      6.     Defendant enters this plea because he is in fact guilty of Disclosure of

Confidential Information and agrees that his plea is voluntary and not the result of

force or threats.


      7.     Defendant understands that the penalties for the offense to which he is

pleading guilty include:

             a.     up to one year imprisonment;

             b.     a fine of up to $100,000;

             c.     a term of supervised release of not more than one year, and

             d.     a $25 special assessment.

Defendant agrees to pay $25 for the count to which he is pleading guilty to the

District Court's Clerk's Office,to be credited to said special assessments, before the

commencement ofany portion ofsentencing. Defendant acknowledges that failure

to make such full advance payment in a form and manner acceptable to the

prosecution will allow, though not require, the prosecution to withdraw from this

agreement at its option.
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      8.      Defendant has fully discussed the facts of this case with defense

counsel. Defendant has committed each of the elements of the crime, and admits

that there is a factual basis for this guilty plea. The following facts are true and

undisputed:

              a. At all times material to the below events, Defendant DANIEL

                   SELLERS ("SELLERS") was a detective in the Criminal

                   Intelligence Unit(CIU) of the Honolulu Police Department(HPD)

                   and cross-sworn as a federal agent and deputy. As a HPD detective

                   and a cross-sworn federal employee,SELLERS had access to several

                   law enforcement sensitive data storage systems used for the

                   investigation of criminal violations, and was required to keep

                   information he obtained from those systems confidential. SELLERS

                   knew that the information contained in these databases was


                   confidential, in the sense that its disclosure was forbidden by agency

                   official policy.    Nonetheless, as outlined below, SELLERS

                   knowingly disclosed confidential information to a person who had

                   not authorized by law or policy to possess for such information.

                                       Background


              b.      On or about the week of June 21, 2013, an individual altered the

      mechanism securing the mailbox in front of Louis Kealoha(L. Kealoha) and
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     Katherine P. Kealoha's(K. Kealoha) residence in Honolulu, Hawaii, so that

     the mailbox could be easily removed.

           c.     On or about June 21, 2013, at about 11:30 p.m., an individual

     drove a Lexus automobile to the front ofthe Kealohas'residence, walked from

     the Lexus to the mailbox in the front yard ofthe residence,lifted the unsecured

     mailbox from its post, placed it in his car, and drove away.

           d.     On or about June 22,2013, prior to any official report to HPD of

     the alleged theft, Minh-Hung Nguyen ("Nguyen") secretly removed the hard

     drive from the video surveillance system at the Kealohas' residence and

     transported it to HPD headquarters.

           e.     On or about June 22, 2013, at about 1:28 p.m., Nguyen spoke

     with K. Kealoha on the telephone.         Immediately thereafter, at about

     1:31 p.m.,K.Kealoha called 911 and falsely reported that the mailbox in front

     ofthe Kealohas' residence had been stolen.


           f.     On or about June 22,2013, after 1:31 p.m., K. Kealoha provided

     a handwritten statement on HPD Form 252 stating, in part: "[w]e will be

     reviewing our security camera and will give that information to the police

     when it becomes available." K. Kealoha did not reveal that the surveillance


     video ofthe alleged mailbox theft had already been retrieved by Nguyen.
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           g.     On or about June 22, 2013, in the afternoon, Nguyen met Niall

     Silva("Silva")at HPD headquarters to review and process the video recording

     of the alleged mailbox theft at the Kealohas' residence ("the Video") that

     Nguyen had removed.

           h.     On or about June 22, 2013, Nguyen falsely identified G.K.P. as

     the person depicted on the Video allegedly stealing the mailbox.

           i.     On or about June 22, 2013, after 2:30 p.m., Derek Wayne Hahn

    ("Hahn") instructed Silva to violate HPD protocols and not log the original

     hard drive Video into evidence,but instead to create compact discs with select

     excerpts ofthe Video.

           j.     On or about June 22, 2013, Hahn called Gordon Shiraishi

    ("Shiraishi") at approximately 2:49 p.m. and 3:56 p.m.

           k.     On or about June 22, 2013, at approximately 5:18 p.m.,

     L. Kealoha called Shiraishi.


           1.     On or about Jime 22, 2013, between 7:10 p.m. and 8:01 p.m.,

     K. Kealoha and Hahn exchanged numerous text messages.

           m.     On or about June 22, 2013, beginning at approximately

     8:10 p.m., Silva and Hahn caused confidential electronic databases to be

     searched for information about G.K.P., his residence address, his relatives and

     his neighbors.
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           n.     On or about June 22, 2013, Nguyen and Silva drove in a HPD

     vehicle to G.K.P.'s residence and began surveillance.

           0.     On or about June 22, 2013, Shiraishi and Hahn caused HPD

     officers to keep G.K.P., and the residence of K. Kealoha and L, Kealoha,

     under continuous surveillance.


           p.     On or about June 23, 2013, SELLERS printed out information

     from confidential electronic databases concerning G.K.P.'s neighbor.

           q.     On or about June 23, 2013, between 2:49 a.m. and 2:56 a.m.,

     K. Kealoha and Hahn exchanged approximately 10 text messages.

           r.     On or about June 24, 2013, L. Kealoha falsely identified G.K.P.

     as the person depicted on the Video allegedly stealing the mailbox.

           s.     On or about June 24,2013,a CIU officer caused confidential law

     enforcement databases to be searched for information about G.K.P.'s


     neighbors.

                                  The Offense


           t.     On or about Saturday, June 29, 2013, SELLERS unlawfully

     disclosed to K. Kealoha,in her personal capacity, the results of his query in a

     confidential law enforcement database about the owner of a white car


     belonging to one of G.K.P's neighbors, and told K. Kealoha that the Lexus

     shown in the Video was not the same as the car owned by G.K.P.'s neighbor.
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             u.     Later on Saturday, June 29, 2013, K. Kealoha falsely identified

      G.K.P. as the person in the Video allegedly stealing her mailbox and placing

      it into the Lexus.


             V.     On or about June 29, 2013, L. Kealoha and K. Kealoha caused

      SELLERS to direct HPD officers to arrest G.K.P. for stealing their mailbox.

      9.    Pursuant to CriniLR32.1(a) of the Local Rules of the United States

District Court for the District of Hawaii, the parties agree that the charge to which

the Defendant is pleading guilty adequately reflects the seriousness of the actual

offense behavior and that accepting this Agreement will not undermine the statutory

purposes of sentencing.

      10.   Pursuant to CrimLR32.1(b) of the Local Rules of the United States

District Court for the District of Hawaii and Section 6B1.4 of the Sentencing

Guidelines,the parties stipulate to the following for the purpose ofthe sentencing of

Defendant in connection with this matter:


            a.      Factual admissions, see ^ 8 above.

            b.      Offense level stipulations:

                    (1)Base offense level[USSG § 2H3.1]                       +6

                    (2) Acceptance ofresponsibility[USSG § 3El.l(a)]          -2

The parties further agree that other guideline sections may be applicable to

Defendant's case.



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      11.    The parties agree that notwithstanding the parties' Agreement herein,

the Court is not bound by any stipulation entered into by the parties but may, with

the aid ofthe presentence report, determine the facts relevant to sentencing.

      12.    The Defendant is aware that he has the right to appeal his conviction

and the sentence imposed. However, Defendant knowingly waives the right to

appeal, except as indicated in subparagraph "b" below, his conviction and any

sentence within the maximum provided in the statute ofconviction or the manner in

which that sentence was determined, on any ground whatever, in exchange for the

concessions made by the prosecution in this plea agreement.

             a.    The Defendant also waives his right to challenge his conviction

or sentence or the manner in which it was determined in any collateral attack,

including, but not limited to, a motion brought under Title 28, United States Code,

Section 2255, except that defendant may make such a challenge (1) as indicated in

subparagraph "b"below,or(2)based on a claim ofineffective assistance ofcounsel.

             b.    If the Court imposes a sentence greater than specified in the

guideline range determined by the United States to be applicable to the Defendant,

the Defendant retains the right to appeal the portion of his sentence greater than

specified in that guideline range and the manner in which that portion was

determined and to challenge that portion of his sentence in a collateral attack.
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             c.    The prosecution retains its right to appeal the sentence and the

manner in which it was determined on any ofthe grounds stated in Title 18, United

States Code, Section 3742(b).

      13     The Defendant understands that the District Court in imposing sentence

will consider the provisions of the Sentencing Guidelines. The Defendant agrees

that there is no promise or guarantee ofthe applicability or non-applicability of any

Guideline or any portion thereof, notwithstanding any representations or predictions

from any source.

      14.    The Defendant understands that this Agreement will not be accepted or

rejected by the Court until there has been an opportunity by the Court to consider a

presentence report, unless the Court decides that a presentence report is unnecessary.

The Defendant understands that the Court will not accept an agreement unless the

Court determines that the remaining charge adequately reflects the seriousness of

the actual offense behavior and accepting the agreement will not undermine the

statutory purposes ofsentencing.

      15.    Defendant understands that by pleading guilty he surrenders certain

rights, including the following:

             a.    If Defendant persisted in a plea of not guilty to the charges

against him he would have the right to a public and speedy trial. The trial could be

either a jury trial or a trial by a judge sitting without a jury. The Defendant has a


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right to ajury trial. However,in order that the trial be conducted by thejudge sitting

without a jury, the Defendant, the prosecution and the judge all must agree that the

trial be conducted by the judge without a jury.

             b.    If the trial is a jury trial, the jury would be composed of twelve

laypersons selected at random. Defendant and his attomey would have a say in who

the jurors would be by removing prospective jurors for cause where actual bias or

other disqualification is shown, or without cause by exercising peremptory

challenges. The jury would have to agree unanimously before it could retum a

verdict of either guilty or not guilty.    The jury would be instructed that the

Defendant is presumed innocent, and that it could not convict him unless, after

hearing all the evidence, it was persuaded of his guilt beyond a reasonable doubt.

             c.    Ifthe trial is held by a judge without a jury, the judge would find

the facts and determine, after hearing all the evidence, whether or not he or she was

persuaded ofthe Defendant's guilt beyond a reasonable doubt.

             d.    At a trial, whether by a jury or ajudge,the prosecution would be

required to present its witnesses and other evidence against the Defendant.

Defendant would be able to confront those prosecution witnesses and his attomey

would be able to cross-examine them. In tum. Defendant could present witnesses

and other evidence on his own behalf. Ifthe witnesses for the Defendant would not




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appear voluntarily, he could require their attendance through the subpoena power of

the Court.


             e.     At a trial, the Defendant would have a privilege against

self-incriniination so that he could decline to testify, and no inference of guilt could

be drawn from his refusal to testify.

       16.   Defendant understands that by pleading guilty, he is waiving all ofthe

rights set forth in the preceding paragraph. Defendant's attorney has explained

those rights to him, and the consequences ofthe waiver ofthose rights.

       17.   Defendant and his attomey acknowledge that no threats, promises, or

representations have been made, nor agreement reached, other than those set forth

in this Agreement, to induce Defendant to plead guilty.

      18.    Should the Court refuse to accept this Agreement, it is null and void

and neither party shall be bound thereto. The parties understand that the Court's

rejection ofany stipulation between the parties does not constitute a refusal to accept

this Agreement since the Court is expressly not bound by stipulations between the

parties.

      19.    Defendant understands that the prosecution will apprise the Court and

the United States Probation Office of the nature, scope and extent of Defendant's

conduct regarding the charges against him, related matters, and any matters in

aggravation or mitigation relevant to the issues involved in sentencing.


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      20.    The Defendant agrees that he will fully cooperate with the United States

in the investigation and prosecution of others,see attached ADDENDUM.

      21.    In the event that the Defendant does not breach any ofthe terms ofthis

Agreement but the Court nonetheless refuses to accept the Agreement after

Defendant has made statements to law enforcement authorities or representatives of

the United States pursuant to this Agreement,the prosecution agrees not to use said

statements in its case in chiefin the trial ofthe Defendant in this matter. Defendant


understands that this does not bar the use ofinformation and evidence derived from

said statements or prohibit the use of the statements by the prosecution in

cross-examination or rebuttal.


      22.    Pursuant to Guideline Section 5K1.1 and Rule 35(b), Federal Rules of

Criminal Procedure, the prosecution may move the Court to depart from the

Guidelines on the ground that the Defendant has provided substantial assistance to

authorities in the investigation or prosecution of another person who has committed

an offense. Defendant understands that:


             a.      The decision as to whether to make such a request or motion is

entirely up to the prosecution.

             b.      This Agreement does not require the prosecution to make such a

request or motion.




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             c.    This Agreement confers neither any right upon the Defendant to

have the prosecution make such a request or motion, nor any remedy to Defendant

in the event the prosecution fails to make such a request or motion.

             d.    Even in the event that the prosecution makes such a request or

motion, the Court may refuse to depart from the Guidelines.

             DATED: Honolulu, Hawaii,

AGREED:


MATTHEW G. WHITAKER
Acting /




           IL G. WHEAT                       DANIEL SELLERS
      J. BESTE                               Defendant
 ^NAKI S. GANDHI
lOLIN M. MCDONALD
Special Attomeys to the Attomey General

                                             RICHARD H.S'. SING, Esquire
                                             Attomey for Defendant SELLERS




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                        ADDENDUM TO PLEA AGREEMENT
             (UNITED STATES v. DANIEL SELLERS. I7CR0582-06-JMS'RLP)

                                  COOPERATION

       A.       Defendant has provided substantial assistance, and expressed a desire

to continue to provide substantial assistance after entering a guilty plea in this case,

to the United States in the investigation and prosecution of others.

      B.        Defendant agrees to be interviewed by federal law enforcement agents

and attomeys and to tell everjdhing defendant knows about every person involved

presently or in the past in obstruction ofjustice and narcotics distribution, as well as

other violations oflaw. Defendant also agrees to produce all documents and other

evidence in defendant's possession or control related to these violations.

      C.        Defendant agrees not to do any undercover work or tape record any

conversations or gather evidence unless instructed by the agent assigned to

defendant. Defendant can be prosecuted for any criminal activity undertaken without

instructions.


      D.        Defendant agrees to provide statements under penalty ofpeijury and to

testify before any federal or state grand jury, and at any pretrial, trial or post-trial

proceedings. Defendant will provide complete, truthful and accurate information

and testimony. Defendant agrees to submit to a polygraph examination to test the

truthfulness of defendant's statements, upon request by the United States.




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      E.     The United States agrees that, ifdefendant fully complies with this plea

agreement, it will not use any statements made by defendant during the period of

post-plea cooperation in any further prosecution of defendant for any offense, or in

defendant's sentencing as provided in Guideline § IB 1.8. If defendant does not

fully comply with this plea agreement, all statements made by defendant before,

during and after this plea agreement, and any leads or evidence derived from such

statements can be used against defendant and are admissible in court.

      F.    If at any time the court asks the United States a direct question about

information defendant disclosed under this agreement or any proffer agreements,the

prosecution must truthfully answer the question. The answer shall not constitute a

breach ofthis plea or cooperation agreement.

      G.    Statements made by defendant pursuant to this plea agreement are not

statements "made in the course of any proceedings imder Rule 11 of the Federal

Rules of Criminal Procedure" and are not statements "made in the course of plea

discussions."


      H.    If the United States Department of Justice decides that defendant has

provided substantial assistance, and has fully complied with this plea agreement, it

will make a motion for a downward departure under 18 U.S.C. § 3553, or § 5K1.1

of the Sentencing Guidelines. Defendant acknowledges that even if the United

States makes a motion, the Court may reject the United States' motion and




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recommendation for departure and refuse to depart downward,and defendant would

not be allowed to withdraw his guilty plea.

      1.     Ifthe United States Department ofJustice decides to make a substantial

assistance motion,it will inform the sentencing judge of:(1)this plea agreement;(2)

the nature and extent of defendant's activities in this case; (3) the full nature and

extent of defendant's cooperation with the United States and the date when such

cooperation commenced; and (4) all information in the possession of the United

States relevant to sentencing, which may include information defendant disclosed

under this agreement or any proffer agreements. Disclosure of such information in

the substantial assistance motion shall not constitute a breach of this plea or

cooperation agreement.

      J.    If defendant provides materially false, incomplete, or misleading

testimony or information, or breaches this plea agreement in any other way, the

United States may prosecute defendant in connection with all federal criminal

violations of which it is aware, including false statements, pequry and obstruction

ofjustice, and defendant's sentencing guidelines may be adjusted for making false

statements (e.g., § 3C1.1 and § 3E1.1). In addition, the United States may move to

set aside this plea agreement, and prosecute defendant on all charges in the

Indictment or Superseding Indictment in this case. However, if the United States

elects not to set aside the plea agreement, defendant agrees that the United States




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may recommend any lawful sentence without restriction by this plea agreement. Any

prosecution and sentence resulting from a breach of this plea agreement may be

based on information provided by defendant.

      The defendant understands that the main plea agreement and this addendum

embody the entire plea agreement between the parties and supersedes any other plea

agreement, written or oral.




DANIEL SELLERS                              RICHARD H.S. SING,Esquire
Defendant                                   Attorney for Defendant SELLERS


MATTHEW G. WHITAKER
Acting Attomey General



micH/^/^t. wheat
eric/beste
JANAm S. GANDHI
COLIN M. MCDONALD
Spec/al Attomeys to the Attomey General




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